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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 Magistrate No. 17-7219-JCB

                                 UNITED STATES OF AMERICA

                                                  v.

                                       DEMONE COLEMAN

              DETENTION ORDER PURSUANT TO UNITED STATES v. KING

                                         December 21, 2017
 Boal, M.J.

         The defendant is charged in a complaint with knowingly and intentionally distributing

 cocaine base in violation of 21 U.S.C. § 841(a)(1). The defendant is currently in state custody.

 An initial appearance was held before this Court on December 21, 2017. At that time, the

 defendant, represented by appointed counsel, waived his right to a prompt detention hearing

 given that he was being held in state custody. On that basis, I find there is good cause to

 continue the detention hearing in this case until such time as the defendant is released from state

 custody in accordance with the protocol set forth in United States v. King, 818 F.2d 112, 115 n.3

 (1st Cir. 1987).

       Accordingly, I rule that the defendant has waived his right to have a detention hearing at this

time. Id. It is ORDERED that the detention hearing is continued until further order of this Court.

It is FURTHER ORDERED that the defendant be DETAINED pending the detention hearing. See

18 U.S.C. § 3142(f). To the extent not already done, the U.S. Marshal is ORDERED to return the

defendant to state custody and lodge a detainer against the defendant on the basis of this Order after

his return to state custody. The parties shall inform the Court upon the defendant’s return to federal

custody so that the Court may schedule a detention hearing.
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       Review of this Detention Order may be had by the defendant filing a motion for revocation

or amendment of the Order pursuant to 18 U.S.C. § 3145(b).

                                             / s / Jennifer C. Boal
                                           JENNIFER C. BOAL
                                           UNITED STATES MAGISTRATE JUDGE
 




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